Case 4:20-cv-03919-CW   Document 503-4   Filed 08/28/24   Page 1 of 3




                  EXHIBIT 4
Case 4:20-cv-03919-CW         Document
               United States District Court 503-4                    Filed 08/28/24            Page 2 of 3
                        In re: College Athlete NIL Litigation
                        Case No. 4:20-cv-03919

                                     Class Action Notice
                                  Authorized by the U.S. District Court

 Were you denied                        NCAA records                             To see how much
 compensation                           indicate you may be             and      money you are
 opportunities as a                     entitled to                     ma       entitled to and to
 college athlete any                    compensation from a             y        learn about your
 time between                           $2.576 billion                  rec      rights and options,
 2016 and 2024?                         settlement and may              eive     scan the QR code to
                                        be eligible for future          fut      learn more.
                                        benefits.                       ure
                                                                        pay
Key things to know:
• This is an important legal document.
• If you take no action, any ruling from the Court will apply to you, and you will not be able to sue the NCAA,
  or any of the Power Five Conferences, or their member institutions about the same issues.
• NCAA compensation rules are changing as part of this settlement. To understand how you are impacted,
  learn more at www.collegeathletecompensation.com or by scanning the QR code.
Case 4:20-cv-03919-CW   Document 503-4   Filed 08/28/24   Page 3 of 3


      Court-Approved
       Legal Notice




   This is an important notice
 about a class action settlement.
